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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



 UNITED STATES OF AMERICA,                     )      Case No: 1:15 CV 1046
                                               )
        Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                               )
         v.                                    )
                                               )
 CITY OF CLEVELAND,                            )
                                               )
        Defendant                              )      STATUS CONFERENCE ORDER



        On March 20, 2024, at 2:00 p.m., the court held a telephonic status conference on the record

 in the within case with counsel for the parties and the Monitor, Karl Racine (“Monitor”). Members

 of the Monitoring Team and other representatives from the City of Cleveland (the “City”) were also

 in attendance. At the conference, per the court’s request, the parties provided an update regarding

 the document request process between the Community Police Commission (“CPC”) and the City

 (See ECF No. 505). The City indicated that it is prepared to move forward with the process for

 carrying out document requests outlined in the Joint Status Report Regarding the Community Police

 Commission’s Document and Information Request Process (ECF No. 514-1). With respect to the

 outstanding requests pending with the City, the City briefly outlined their concerns with the amount

 of time it would take to fulfill those document requests. The Department of Justice (“DOJ”) raised

 some concerns in response, and emphasized the importance of the CPC’s role as well as its oversight

 authorities enumerated in the City charter. The court will take the issue of the outstanding CPC
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 documents requests, which the parties have briefed, under advisement in short order. (See ECF No.

 507, 510).

         At the conference, the parties also discussed the billing disputes regarding the Monitoring

 Team’s billing consultant, Meg Olson, which has held up multiple payments to the Monitoring Team

 thus far. To resolve the matter, the court determined that the City should pay the full amount of Ms.

 Olson’s time for worked performed by her or to be performed by her in respect to all bills that have

 been submitted or are to be submitted regarding work performed by the Monitoring Team up to and

 including the date of the March 20, 2024 hearing. To the extent that any party might have construed

 the court’s ruling otherwise, the court clarifies this was the intent of its ruling. For the reasons stated

 on the record, moving forward, the cost of Ms. Olson’s work should be allocated two-thirds to the

 City and one-third to the Monitor.

         IT IS SO ORDERED.


                                                          /s/ SOLOMON OLIVER, JR.
                                                          UNITED STATES DISTRICT JUDGE


 March 26, 2024




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